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EMERGENCY EXTRAORDINARY WRIT FOR AN INJUNCTION
November 28", 2020

This was my “OH FUCK” moment this morning and if you can’t see the problems/genocide then you are
delusional. (And no, | am not sorry for using profanity) *United Airlines on Friday (November 27", 2020)
commenced charter flights to send doses of Pfizer and BioNTech's COVID-19 vaccine candidates to
prepare for distribution, according to a report by the Wall Street Journal that cited people familiar with
the matter, (Lincoln: “American will fall from within’. This is suicide.)

If you allow the vaccination, we all die. We can’t find a vaccination for Influenza, Pneumonia and Suicide
{all are contagious) but we can find a vaccination for COVID19 in less than a year. Why are we
susceptible to COVID19? tT 1S BECAUSE WE ARE ALREADY INFECTED. THE KATRINA VIRUS IS REAL.

May God have mercy on our souls because there is no going back. Once the FDA approves, then the
courts can’t stop our Genocide.

United Airlines charters flights to distribute Pfizer's COVID-19 vaccine BY KAELAN DEESE - 11/27/20
06:56 PM EST https://thehill.com/policy/transportation/aviation/527792-united-airlines-charters-
flights-to-distribute-pfizers-covid

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BioNTech's COVID-19 vaccine candidates to prepare for distribution, according to a report by the Wall
Street Journal that cited people familiar with the matter.

*"As a result of the historic pace of vaccine development through Operation Warp Speed and careful
logistics planning, the FAA today is supporting the first mass air shipment of a vaccine," the FAA
statement read.

*Both companies are awaiting emergency use authorization after submitting a request to the Food and

 

 

 
 
 
 

Drug Administration (FDA) last week.
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LDS
Godspeed Bak ~ gt
Sincerely, | DEC ECE
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CERTIFIC;
| hereby certify that on November be-f6 re going Ww with the Clerk of Court and

served the pleading on Al

 

David Andrew Christenson
